       Case 1:24-cv-00783-BAH Document 1-3 Filed 03/18/24 Page 1 of 2

                                                                              on
                                                                          3




  GEORGE M. CLARKE, III.



                                                          1:24-cv-00783
INTERNAL REVENUE SERVICE




                           GEORGE M. CLARKE
                           815 Connecticut Ave., N.W.
                           Washington, D.C. 20006




           INTERNAL REVENUE SERVICE
           1111 Constitution Avenue N.W.
           Washington, D.C. 20224
                       Case 1:24-cv-00783-BAH Document 1-3 Filed 03/18/24 Page 2 of 2

FOIA Summons (1/13) (Page 2)

Civil Action No. 1:24-cv-00783

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                        .

          ’ I personally served the summons on the individual at (place)
                                                                               on (date)                         ; or

          ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                           , a person of suitable age and discretion who resides there,
          on (date)                           , and mailed a copy to the individual’s last known address; or

          ’ I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                         ; or

          ’ I returned the summons unexecuted because                                                                          ; or

          ’ Other (specify):
                                                                                                                                      .


          My fees are $                       for travel and $                  for services, for a total of $          0.00          .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                     Server’s signature



                                                                                   Printed name and title




                                                                                      Server’s address

Additional information regarding attempted service, etc:
